MOTION GRANTED.



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


        CATHOLIC MEDICAL ASSOCIATION,

                            Plaintiff,

               v.                                     No. 3:25-cv-00048

        UNITED STATES DEPARTMENT OF                   Judge Campbell
        HEALTH AND HUMAN SERVICES, et                 Magistrate Judge Frensley
        al.,

                            Defendants.


                    CONSENT MOTION TO EXTEND ANSWER DEADLINE

             Defendants respectfully move, with Plaintiff’s consent, for a 7-day extension

       of their deadline to respond to the Complaint, and an equivalent extension of the

       parties’ subsequent deadline to submit a schedule for further proceedings, and in

       support state:

             1.      Plaintiff challenges a July 2022 Memorandum from the Centers for

       Medicare & Medicaid Services with the subject “Reinforcement of EMTALA

       Obligations specific to Patients who are Pregnant or are Experiencing Pregnancy

       Loss” and an accompanying Letter from the Secretary of Health and Human

       Services. Compl. ¶ 1.

             2.      The Court previously granted two scheduling motions. First, it

       granted the parties’ joint motion to vacate the initial scheduling conference, extend

       the answer deadline to April 30, and require the parties to submit a proposed




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schedule for further proceedings by May 14. See ECF No. 22. Second, it granted

Defendants’ consent motion to extend those deadlines by an additional 30 days,

such that the answer deadline is currently May 30, and the deadline to submit a

proposed schedule for further proceedings is June 14. See ECF No. 24.

      3.     There is good cause for this request. New leadership at the

Department of Health and Human Services continues to actively consider how best

to respond to the Complaint, but respectfully requests additional time to do so,

including to evaluate whether it may be possible to resolve this case without

litigation and the attendant burden on judicial resources. Accordingly, Defendants

respectfully request that the answer deadline be extended by an additional 7 days,

from May 30 to June 6, and that the parties’ deadline to submit a proposed schedule

for further proceedings, if any should prove necessary, be extended by an equivalent

period, to June 20 (provided that, in the event Defendants were to respond to the

Complaint by moving to dismiss, Plaintiff’s response would not be due before July

7).

      4.     There are no other deadlines in this case, including for dispositive

motions, and no trial date has been set. This motion is therefore consistent with

Local Rule 16.01’s requirement that no dispositive motion deadline be later than 90

days in advance of the trial date.

      5.     Undersigned counsel has conferred with counsel for Plaintiff, who

consents to this request.




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      WHEREFORE, Defendants respectfully request that the Court extend the

deadline to respond to the Complaint until June 6, and the parties’ deadline to

submit a proposed schedule for further proceedings until June 20.


Dated: May 30, 2025                           Respectfully submitted,

                                              /s/ Eric Beckenhauer                 x
                                              Eric B. Beckenhauer
                                              Cal. Bar No. 237526
                                              Assistant Director
                                              U.S. Department of Justice
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                                              Counsel for Defendants




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                          CERTIFICATE OF SERVICE

      I certify that the foregoing document was filed via the Court’s CM/ECF

system on May 30, 2025, causing it to be served on all counsel of record.

                                               /s/ Eric Beckenhauer                   x
                                               Eric B. Beckenhauer




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